Case 0:18-cv-60481-DPG Document 29 Entered on FLSD Docket 05/12/2022 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                               CASE NO.: 0:18-cv-60481-GAYLES

  HOWARD MICHAEL CAPLAN,

                 Plaintiff,

  v.

  NEW LEVEL AUTOMOTIVE TECH,
  INC. and THE PEREZ FAMILY REALTY
  CORP.,

                 Defendants.
                                             /

                                             ORDER

         THIS CAUSE comes before the Court on the Motion to Withdraw as Attorney of Record

  (the “Motion”) [ECF No. 24]. The Court has reviewed the Motion and the record and is otherwise

  fully advised. As set forth at the hearing on May 12, 2022, the Motion shall be granted.

  Accordingly, it is

         ORDERED AND ADJUDGED as follows:

         1. The Motion to Withdraw as Attorney of Record [ECF No. 24] is GRANTED. Joshua

             H. Sheskin, Josh Bloom, and the law firm of Lubell Rosen, LLC, are withdrawn from

             this case.

         2. Defendants shall obtain new counsel within fifteen (15) days of the date of this

             Order. Defendants’ failure to comply with this Order shall result in a default being

             entered against them.




                                                 1
Case 0:18-cv-60481-DPG Document 29 Entered on FLSD Docket 05/12/2022 Page 2 of 2




        3. Mr. Sheskin shall provide Defendants with a copy of this Order.

        DONE AND ORDERED in Chambers at Miami, Florida, this 12th day of May, 2022.




                                            ________________________________
                                            DARRIN P. GAYLES
                                            UNITED STATES DISTRICT JUDGE




                                               2
